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 1    ROBERT E. ATKINSON
      CHAPTER 7 BANKRUPTCY TRUSTEE
 2
      376 E. Warm Springs Rd Suite 130
 3    Las Vegas, NV 89119
      Telephone: (702) 617-3200
 4    Email: Robert@ch7.vegas
 5
                                UNITED STATES BANKRUPTCY COURT
 6                                 FOR THE DISTRICT OF NEVADA

 7                                                               Case No. 21-14486-abl
       In re:                                                    Chapter 7
 8

 9     INFINITY CAPITAL MANAGEMENT, INC.
       dba INFINITY HEALTH CONNECTIONS,
10
                               Debtor.
11

12
      FIRST AND FINAL APPLICATION OF ATKINSON LAW ASSOCIATES LTD. FOR
13     COMPENSATION AND REIMBURSEMENT OF EXPENSES INCURRED WHILE
                     GENERAL COUNSEL FOR THE TRUSTEE
14
                Atkinson Law Associates Ltd. (“ALA”) hereby submits this first and final application for
15
      compensation and reimbursement of expenses (collectively, the “Application” or “Application
16
      for Compensation”) incurred while ALA was employed as general counsel to Robert E.
17
      Atkinson (“Trustee”), the chapter 7 trustee for the above-captioned bankruptcy estate.
18
                This Application for Compensation is made pursuant to: 11 U.S.C. §§ 330(a),
19
      507(a)(1)(C), and 503(b)(2); Fed. R. Bankr. P. Rule 2016; Local Rule 2016; Section 2 of the
20
      Guidelines of the U.S. Department of Justice, Office of the United States Trustee—Region 17
21
      (“R17 Guidelines”) and the Guidelines for Reviewing Applications for Compensation and
22
      Reimbursement of Expenses Filed under 11 U.S.C. § 330 adopted by the Executive Office for
23
      United States Trustees pursuant to 28 U.S.C. § 586(a)(3)(A) (“EOUST Guidelines”)
24
      (collectively, the “Guidelines”); and the pleadings and papers on file in this case, judicial
25
      notice of which is hereby requested. This Application for Compensation is also supported by
26
      the accompanying Client Review Statement (attached herewith as Exhibit 6), and the
27
      contemporaneously-filed Declaration of Robert Atkinson, Esq. (“Atkinson Decl.”).
28




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 1
      I. INFORMATION ABOUT APPLICANT & APPLICATION FOR COMPENSATION
 2
             In support of this Application for Compensation, ALA respectfully represents the
 3
      following, which is structured in a manner consistent with the Section (b) of the EOUST
 4
      Guidelines.
 5
             Date the bankruptcy petition was filed. INFINITY CAPITAL MANAGEMENT, INC.
 6
      dba INFINITY HEALTH CONNECTIONS (“Debtor”) filed a chapter 7 bankruptcy petition
 7
      on September 14, 2021. [DE #1.]
 8
             1.      Date of the order approving employment. On September 28, 2021, the
 9
      Trustee filed an application [DE #37] to employ ALA as his general counsel. An order
10
      authorizing such employment (effective as of the filing date of the application), was docketed
11
      on November 8, 2021 [DE #122].
12
             2.      Identity of the party represented. ALA represents Robert E. Atkinson, the
13
      current chapter 7 trustee for the Debtor’s bankruptcy estate.
14
             3.      Date services commenced. ALA commenced representing the Trustee on
15
      September 28, 2021. [DE #37.]
16
             4.      Whether the applicant is seeking compensation under a provision of the
17
      Bankruptcy Code other than section 330. No.
18
             5.      Terms and conditions of employment and compensation. Per the engagement
19
      letter attached as an exhibit to the application for employment (“Engagement Letter”), legal
20
      services provided by ALA to the Trustee are charged at normal hourly rates for that calendar
21
      year. Fees are billed in 0.1 hour (6-minute) increments. Expenses are billed at cost. These
22    terms have previously been approved in this case as being reasonable under 11 U.S.C. § 328.
23    [DE #122.] All professional services for which compensation is requested were performed for
24    or on behalf of the Trustee, and not on behalf of any other person. There is no agreement or
25    understanding regarding the sharing of compensation between ALA and any other person.
26           6.      Source of compensation. All compensation and expenses sought in this
27    Application are requested to be allowed as an administrative expense of the bankruptcy estate
28    and shall be paid from the general funds of the estate.


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 1
             7.      Existence and terms controlling use of a retainer. Not applicable.
 2
             8.      Any budget caps or other limitations on fees. No.
 3
             9.      Names and hourly rates of all applicant's professionals and
 4
      paraprofessionals who billed time. The following persons billed time during this
 5
      application period:
 6
                             Person                         2021 Rate     2022 Rate
 7                           Clarisse Crisostomo, Esq.      $380/hr       $420/hr
                             Paralegals                     $180/hr       $180/hr
 8

 9
             10.     Explanation of any changes in hourly rates from those previously charged.
10
      Not applicable.
11
             11.     Statement of whether the compensation is based on the customary
12
      compensation charged by comparably skilled practitioners in cases other than cases
13
      under title 11. The fees charged by ALA in this case are the normal hourly rates charged by
14
      ALA in 2021 and 2022.
15
             12.     Whether the application is interim or final. This is a final application.
16
             13.     Dates of previous orders on interim compensation or reimbursement of
17
      expenses along with the amounts requested and the amounts allowed or disallowed,
18
      amounts of all previous payments, and amount of any allowed fees and expenses
19
      remaining unpaid. Not applicable; this is the first and final application for compensation.
20
             14.     Time period of the services or expenses covered by the application. From
21
      September 28, 2021 through October 17, 2022, inclusively, and also including future time
22
      (whose date column is labeled ‘TBD’ in Exhibits 4 and 5) associated with the adjudication of
23
      the Application itself (collectively, the “Application Period”).
24

25                                         II. CASE STATUS
26           15.     On September 14, 2021 (“Petition Date”), Debtor filed a voluntary petition for
27    chapter 7 bankruptcy relief in this district, commencing this case. [DE #1.]

28




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 1
               16.     Also on September 14, 2021, Robert E. Atkinson was appointed as chapter 7
 2
      trustee of this bankruptcy case. [DE #2.]
 3
               17.     On September 28, 2021, the Trustee filed1 an application [DE #37] to employ
 4
      ALA as his general counsel, to assist in his investigation of the financial affairs of the Debtor,
 5
      and in the liquidation of assets. The application was unopposed, and an order authorizing
 6
      such employment (effective as of the filing date of the application), was docketed on
 7
      November 8, 2021 [DE #122].
 8
               18.     On October 5, 2021 the Trustee filed a joint motion to reject the debtor’s sub-
 9
      advisory agreement with Tecumeseh [DE #61]. This motion was unopposed, and an order
10
      granting the motion was docketed on November 18, 2021 [DE #134].
11
               19.     Also on October 5, 2021 Tecumeseh filed a motion to abandon certain
12
      receivables [DE #57]. The Trustee filed an opposition to that motion [DE #117], as did
13
      creditor HASelect [DE #118], to which Tecumeseh filed a reply [DE #125]. On November 19,
14
      2021 an order was docketed denying the motion [DE #133].
15
               20.     On October 19, 2021, creditor HASelect filed an adversary proceeding against
16    creditor Tecumseh, relating to various medical receivables [adversary case no. 21-01167] (the
17    “HASelect AP”). On November 19, 2021, Tecumseh filed its answer, and included a
18    counterclaim against HASelect and also the Trustee (on behalf of the estate). On January 7,
19    2022, the Trustee filed his answer, and added a counterclaim against Tecumseh.
20             21.     On November 2, 2021 the Trustee filed an adversary proceeding against
21    Kabbage, Inc [Adv. No. 21-01212], seeking avoidance and recovery of a post-petition transfer
22    in the amount of $9,056.09. Kabbage promptly paid that amount to resolve the case, and the
23    adversary case was dismissed.
24             22.     On November 18, 2021 the Trustee filed a motion to approve settlement
25    between the estate and the debtor’s principals Oliver Hemmers and Anne Pantelas resolving a
26    dispute as to the ownership of two vehicles [DE #128]. This motion was unopposed and an
27

28
      1
          Unless otherwise indicated, all actions taken by the Trustee in this Case Status section after
          this date are by and through counsel.


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 1
      order granting the motion was docketed on December 17, 2022 [DE #160]. That resolution
 2
      resulted in $10,285.00 being paid to the bankruptcy estate.
 3
              23.    On December 3, 2021, the Trustee filed a motion [DE #145] to sell various
 4
      assets of the estate to HASelect, including the estate’s counterclaim against Tecumseh in the
 5
      adversary case, and to set a sale date and sale procedures. Tecumseh filed an opposition to
 6
      this motion [DE #155], to which the trustee replied [DE #163]. An order mostly approving
 7
      the motion to sell was docketed on January 21, 2022 [DE #175]. The sale was held via an
 8
      auction held by the Court on February 8, 2022. An order approving the sale to HASelect was
 9
      docketed on February 11, 2022 [DE #184]. The sale resulted in $100,000 in new money to
10
      the estate.
11
              24.    On February 28, 2022, the Trustee filed a motion in the HASelect AP to
12
      substitute in HASelect in the place and stead of the Trustee. Tecumseh filed a limited
13
      opposition to this motion, to which the Trustee filed a reply. An order approving this motion
14
      was docketed in the HASelect AP on May 23, 2022. As a result of this order, the Trustee is
15
      no longer a party to that adversary case.
16            25.    The Trustee has liquidated a net total of $151,588.60 in this case. No other
17    adversary proceedings are anticipated to be filed.
18

19
                               III. SUMMARY SHEET AND INVOICE
              26.    The summary sheet is presented in Exhibit 1.
20
              27.    A summary invoice is presented in Exhibit 2.
21

22
                                    IV.     PROJECT BILLING
23            28.    ALA maintained electronic records of time expended by its attorney and
24    paralegal in rendering professional services to the Trustee, entries of which were made
25    substantially contemporaneously with the rendition of those services. Atkinson Decl. at ¶ 5.
26            29.    To ensure appropriate monitoring of ongoing services and to otherwise
27    maintain appropriate accounting in compliance with the Guidelines, ALA allocated time
28    expended to certain project billing categories, as defined in Exhibit 3.


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 1
              30.    Included in Exhibit 3 is a narrative description of the services rendered in this
 2
      case by each billing category, including: (i) an explanation of the duties undertaken, (ii) the
 3
      necessity or benefit of the services rendered, and (iii) the results obtained or anticipated (and,
 4
      where appropriate, the outcome had the particular services not been performed).
 5
              31.    Fees: Time and service entries reported in chronological order under the
 6
      appropriate project category are presented in Exhibit 4. All of the time entries contained in
 7
      Exhibit 4 accurately reflects the professional services performed by ALA on behalf of the
 8
      Trustee during the Application Period in this bankruptcy case. [Atkinson Decl. at ¶ 6.] The
 9
      time spent by ALA during the Application Period was for work reasonably likely and
10
      necessary for the benefit of the bankruptcy estate at the time they were incurred, and
11
      necessary for the administration of the bankruptcy estate. [Id. at ¶ 8; Exhibit 6 (Client Review
12
      Statement) at ¶ 5.]
13
              32.    As shown in Exhibit 4, the time spent by task, and corresponding fees incurred,
14
      were:
15

16       Code          Task                               Attorney Paraleg          Total Fees
                                                           Hours   al Hours         Incurred
17       AAR           Asset Analysis & Recovery            49.4      3.5            20,734.00
18
         AD            Asset Disposition                    19.4       .7             7,538.00
         FEA           Fee/Employment                                 .23               414.00
19                     Applications
         CAO           Claims Admin &                        1.0           0            388.00
20                     Objections
21                                                        Total Fees Incurred      $29,074.00

22
              33.    Expenses: ALA incurred actual and necessary expenses in the aggregate
23
      amount of $1,663.59 in the delivery and performance of professional services to the Trustee
24
      during the Application Period. Expenses by category are presented in Exhibit 5. All of the
25
      expenses contained in Exhibit 5 of the Application are accurate and were incurred by ALA on
26
      behalf of the Trustee during the Application Period in this bankruptcy case. Postage and
27
      third-party costs are billed at actual. Per the Engagement Letter, photocopies are billed at
28
      $0.25/page. [Atkinson Decl. at ¶ 8.] The expenses incurred by ALA during the Application


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 1
      Period was for work reasonably likely and necessary for the benefit of the bankruptcy estate at
 2
      the time they were incurred, and necessary for the administration of the bankruptcy estate.
 3
      [Id. at ¶ 9; Exhibit 6 (Client Review Statement) at ¶ 5.]
 4

 5                                     V. REQUESTED RELIEF

 6           34.     That pursuant to the factors specified in 11 U.S.C. § 330(a)(3), the Court

 7    determines that the time and expenses shown in Exhibits 1, 4, and 5 spent by ALA on behalf

 8    of the Trustee are reasonable.

 9
             35.     That pursuant to 11 U.S.C. §§ 330(a)(1) and 503(b)(2), ALA be awarded an

10
      administrative expense in this bankruptcy case, on a final basis, in the amounts of $29,074.00

11
      for fee compensation for professional services rendered plus $1,663.59 for reimbursement of

12
      costs and expenses, for a total of $30,737.59.

13
             36.     That the above amounts be payable from the Debtor’s bankruptcy estate by the

14
      Trustee without further order of this Court required.

15
                                   VI. REVIEW AND APPROVAL
16
             37.     The Trustee has reviewed this Application for Compensation and its exhibits,
17
      and has signed a statement approving the requested amount. See Exhibit 6.
18
             38.     Prior to filing, this Application for Compensation was not reviewed by an
19
      attorney from the Office of the U.S. Trustee.
20
                                                 # # #
21
             WHEREFORE, the Trustee and applicant Atkinson Law Associates Ltd. respectfully
22
      requests that this Honorable Court grant the relief requested herein.
23

24    Respectfully submitted on: October 21, 2022

25

26                                                     By:   /s/ Robert E. Atkinson
                                                       ROBERT E. ATKINSON
27                                                     CHAPTER 7 BANKRUPTCY TRUSTEE
28




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                        EXHIBIT 1
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                                                           SUMMARY SHEET


                                                                    Fees Previously Requested             $            -         NAME OF APPLICANT
                                       Chapter 7                    Fees Previously Awarded               $            -        Atkinson Law Associates Ltd.
 In re:
                                                                    Expenses Previously Requested         $            -
 INFINITY CAPITAL MANAGEMENT, INC.     Case No.                     Expenses Previously Awarded           $            -
 dba INFINITY HEALTH CONNECTIONS       21-14486                                                                                    ROLE IN THE CASE
                        Debtor.                                     Security Retainer Available           $            -            Attorney for Trustee

                                                                    CURRENT APPLICATION:
                                                                    Fees Requested                        $      29,074.00
                                                                    Expenses Requested                    $       1,663.59
                                                                    Total Sought This Application         $      30,737.59 Total

FEE APPLICATION DETAIL BY PERSON:
Name                                               Hours Billed                      Rate               Total for Application

ATTORNEYS
Clarisse Crisostomo - 2021 rates                      35.3 hours                $ 380.00 /hr               $     13,414.00
Clarisse Crisostomo - 2022 rates                      34.5 hours                $ 420.00 /hr               $     14,490.00
                                        Subtotal      69.8                                        Subtotal $     27,904.00

                                                                                     BLENDED HOURLY RATE FOR ATTORNEYS                   $ 399.77

PARALEGALS
Sierra Beasley                                         6.5 hours                $ 180.00 /hr               $      1,170.00
                                        Subtotal       6.5                                        Subtotal $      1,170.00

                                                                                    BLENDED HOURLY RATE FOR PARALEGALS                   $ 180.00



                                   GRAND TOTAL        76.3 Total Hours                                    $      29,074.00 Total Fees

                                                                                     TOTAL AVERAGE BLENDED HOURLY RATE                   $ 381.05
                                                                                                 (blended attorney and paralegal)
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                         EXHIBIT 2
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                                                                                               Invoice
        Atkinson Law Associates Ltd.
        376 E. Warm Springs Rd Suite 130
        Las Vegas, NV 89119
        ph: (702) 614-0600




                            BILL TO:

           Robert E. Atkinson, Trustee
           376 E. Warm Springs Rd. Ste 130
           Las Vegas, NV 89119



                             CASE
        In re: INFINITY CAPITAL MANAGEMENT, INC.
            dba INFINITY HEALTH CONNECTIONS
                           21-14486

                  INVOICE FOR PERIOD                                                        INVOICE DATE
        September 28, 2021 through October 17, 2022                                            10/17/22


  Fees for Services Rendered:
                      DESCRIPTION                       QUANTITY        BILLING RATE           AMOUNT

        Clarisse Crisostomo, Esq. - 2021 rates           35.3 hours       $380 / hour          $13,414.00
        Clarisse Crisostomo, Esq. - 2022 rates           34.5 hours       $420 / hour          $14,490.00
        Paralegal Fees                                    6.5 hours       $180 / hour           $1,170.00


                                                                          Subtotal Fees        $29,074.00

  Expenses:
                      DESCRIPTION                                             RATE             AMOUNT

        Printing                                                       Actual / no markup          $21.50
        Postage                                                        Actual / no markup           $9.87
        Third-Party Costs                                              Actual / no markup       $1,632.22

                                                                      Subtotal Expenses         $1,663.59



                                                                       BALANCE DUE          $30,737.59




CONFIDENTIAL ‐ PRIVILEGED                                                                           Page 1 of 1
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                         EXHIBIT 3
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                     PROJECT CATEGORIES
               with NARRATIVE TASK SUMMARIES
                             Consistent with US Trustee Program Guidelines

                                TAILORED FOR THE PRESENT CASE


 Code     Category
 AAR      ASSET ANALYSIS & RECOVERY

General Definition: Identification and review of potential assets including causes of action and non‐
litigation recoveries. Duties Undertaken In This Case: Filed a stipulation for turnover. Investigated the
debtor for possible assets and pre‐petition and post‐petition transfers. Negotiated a settlement
regarding vehicles. Filed an adversary proceeding for an avoidable transfer. Necessity and Benefit:
Identification and recovery of assets of the estate is integral to the duties of the Trustee and directly
benefits the estate and its creditors. Results Obtained: Disputed assets that were liquidated, raising
about $20,000 for the estate.



 Code     Category
 AD       ASSET DISPOSITION

General Definition: Sales, leases (§ 365 matters), abandonment and related transaction work. Duties
Undertaken In This Case: This is a complex case regarding medical receivables, a substantial amount of
work, an analysis was performed. Ultimately, the majority of the assets of the estate were disposed of
via a motion to sell. Necessity and Benefit: Administration of the Debtor’s assets is the primary goal of
Chapter 7 bankruptcy proceedings. Court approval is required to abandon, and reject leases prior to
statutory deadlines. Results Obtained A $100,000 sale was consummated (new money to the estate).



 Code     Category
 CAO      CLAIMS ADMINISTRATION AND OBJECTIONS

General Definition: Specific claims investigation, inquiries, objections; bar date motions; analysis of
claims; objections to claims; estimation of claims; allowances of claims. Duties Undertaken In This Case:
Interacted with creditors regarding their proofs of claim. Necessity and Benefit: Finalizing claims,
amounts, and categories are required for proper administration of a bankruptcy estate. Results
Obtained: The claims that were filed conformed to expectations and documents, so that the estate does
not have to undertake any expensive claims objections.




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 Code     Category
 FEA      FEE/EMPLOYMENT APPLICATIONS

General Definition: Preparations of employment and fee application related to the retention of
professionals for the Trustee. Duties Undertaken In This Case: Preparation and filing of this application
for compensation. Necessity and Benefit: Application for compensation are necessary for estate
professionals to be paid. Results Obtained: ALA’s application for employment granted. The first and
final application for compensation for ALA has been filed (hearing pending).




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                         EXHIBIT 4
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                                                                                    TASK: AAR‐ Asset Analysis & Recovery                                                                       Page 1 of 8
                                                                                                                                        Attorney    Attorney    Paralegal   Paralegal
Date        Code   Description                                                                                             Person        Hours        Rate       Hours        Rate             Total
28‐Sep‐21   AAR    Analyzed (and discussed with trustee) docs received from creditor                                       Crisostomo      0.5     $ 380.00                              $   190.00
5‐Oct‐21    AAR    Researched UCC re: perfection of a security interest in deposit accounts                                Crisostomo      0.2     $ 380.00                              $    76.00
5‐Oct‐21    AAR    Drafted stipulation to turnover                                                                         Crisostomo      0.3     $ 380.00                              $   114.00
8‐Oct‐21    AAR    Discussed motion to reject the servicing agreement                                                      Crisostomo      0.3     $ 380.00                              $   114.00
8‐Oct‐21    AAR    Reviewed and discussed creditor's counsel adversary proceeding against the debtor                       Crisostomo      0.5     $ 380.00                              $   190.00
11‐Oct‐21   AAR    Discussion with trustee re status update of bk case & potential assets                                  Crisostomo      0.1     $ 380.00                              $    38.00
12‐Oct‐21   AAR    Reviewed opposition and motion for relief from automatic stay                                           Crisostomo      0.2     $ 380.00                              $    76.00
12‐Oct‐21   AAR    Attended motion for relief from automatic stay                                                          Crisostomo      0.7     $ 380.00                              $   266.00
21‐Oct‐21   AAR    Discussion about Australian creditors, settlement agreement, and possible 547 actions                   Crisostomo      0.5     $ 380.00                              $   190.00
22‐Oct‐21   AAR    Emailed foreign creditors re their investments found in debtor's bank statements                        Crisostomo      0.2     $ 380.00                              $    76.00
22‐Oct‐21   AAR    Started drafting settlement agreement re debtor's vehicles                                              Crisostomo      0.4     $ 380.00                              $   152.00
22‐Oct‐21   AAR    Finished drafting settlement agreement re debtor's vehicles                                             Crisostomo      0.3     $ 380.00                              $   114.00
28‐Oct‐21   AAR    Drafted 547/549 AP complaint against Injury Specialists                                                 Crisostomo      0.9     $ 380.00                              $   342.00
28‐Oct‐21   AAR    Discussed other 547/549 complaints to draft and the Injury Specialists complaint                        Crisostomo      0.3     $ 380.00                              $   114.00
28‐Oct‐21   AAR    Reviewed debtor's bank statements for more complaints to draft                                          Crisostomo      0.3     $ 380.00                              $   114.00
29‐Oct‐21   AAR    Analyzed statements and drafted complaint against Kabbage for post petition transfer                    Crisostomo      0.4     $ 380.00                              $   152.00
29‐Oct‐21   AAR    Analyzed statements and drafted complaint against Neal Howard for pre‐petition transfer                 Crisostomo      0.4     $ 380.00                              $   152.00
1‐Nov‐21    AAR    Drafted motion to approve stipulation re funds received by estate                                       Crisostomo      0.4     $ 380.00                              $   152.00
2‐Nov‐21    AAR    Requested issue of summons re Kabbage AP                                                                Crisostomo      0.1     $ 380.00                              $    38.00
3‐Nov‐21    AAR    Served summons service package re Kabbage AP                                                            Beasley                                 0.4      $   180.00   $    72.00
4‐Nov‐21    AAR    Drafted and docketed declaration re motion to compel turnover of dodge ram                              Crisostomo     0.2      $   380.00                            $    76.00
18‐Nov‐21   AAR    Drafted motion to approve settlement re vehicles                                                        Crisostomo     0.7      $   380.00                            $   266.00
18‐Nov‐21   AAR    Discussed with trustee the settlement agreement re motion to approve settlement                         Crisostomo     0.1      $   380.00                            $    38.00
18‐Nov‐21   AAR    Compiled and uploaded 9019 motion to approve settlement                                                 Crisostomo     0.2      $   380.00                            $    76.00
18‐Nov‐21   AAR    Docketed declaration and NOH re 9019 motion to approve settlement                                       Crisostomo     0.2      $   380.00                            $    76.00
18‐Nov‐21   AAR    Discussed motion to sell with trustee and auction procedures                                            Crisostomo     0.5      $   380.00                            $   190.00
18‐Nov‐21   AAR    Recaptioned docs re motion to approve settlement                                                        Beasley                                 0.2      $   180.00   $    36.00
18‐Nov‐21   AAR    Served the NOH re 9019 motion to CMM via COS.com                                                        Beasley                                 0.2      $   180.00   $    36.00
18‐Nov‐21   AAR    Docketed COS re mailing of NOH re 9019 motion                                                           Beasley                                 0.1      $   180.00   $    18.00
19‐Nov‐21   AAR    Revised motion to sell to remove APA and fix auction procedures                                         Crisostomo     0.7      $   380.00                            $   266.00
19‐Nov‐21   AAR    Drafted and docketed NOE for order denying motion of party interest DE 133                              Beasley                                 0.1      $   180.00   $    18.00
22‐Nov‐21   AAR    Revised and emailed stip re back account to creditor HASelect                                           Crisostomo     0.2      $   380.00                            $    76.00
22‐Nov‐21   AAR    Discussion with trustee re stipulations and motions to approve stipulations                             Crisostomo     0.3      $   380.00                            $   114.00
22‐Nov‐21   AAR    Drafted stipulation re claims against debtor's principals                                               Crisostomo     0.3      $   380.00                            $   114.00
22‐Nov‐21   AAR    Drafted motion to approve stipulation re bank account balances to creditor HASelect                     Crisostomo     0.3      $   380.00                            $   114.00
22‐Nov‐21   AAR    Drafted NOH re motion to approve stipulation re bank account balances                                   Crisostomo     0.1      $   380.00                            $    38.00
22‐Nov‐21   AAR    Drafted motion to approve stipulation re claims against debtor's principals                             Crisostomo     0.4      $   380.00                            $   152.00
22‐Nov‐21   AAR    Drafted NOH re motion to approve stipulation re claims against debtor's principals                      Crisostomo     0.1      $   380.00                            $    38.00
22‐Nov‐21   AAR    Drafted order re motion to approve stipulation re bank account balances                                 Crisostomo     0.1      $   380.00                            $    38.00
22‐Nov‐21   AAR    Drafted order re motion to approve stipulation re claims against debtor's principals                    Crisostomo     0.1      $   380.00                            $    38.00
22‐Nov‐21   AAR    Revised and emailed stip re back account to creditor HASelect                                           Crisostomo     0.1      $   380.00                            $    38.00
24‐Nov‐21   AAR    Revised and docketed stipulation re bank account balances                                               Crisostomo     0.2      $   380.00                            $    76.00
24‐Nov‐21   AAR    Drafted and uploaded order approving stipulation re bank account balances                               Crisostomo     0.2      $   380.00                            $    76.00
24‐Nov‐21   AAR    Discussed with trustee further issues re bk case                                                        Crisostomo     0.3      $   380.00                            $   114.00
24‐Nov‐21   AAR    Reviewed payroll and shareholder loan documents from debtor's counsel                                   Crisostomo     0.5      $   380.00                            $   190.00
24‐Nov‐21   AAR    Emailed HASelect counsel the motion to sell draft, APA, and proposed order                              Crisostomo     0.1      $   380.00                            $    38.00
24‐Nov‐21   AAR    Emailed debtor's counsel for business bank statements                                                   Crisostomo     0.1      $   380.00                            $    38.00
24‐Nov‐21   AAR    Made changes to stipulation and order re: bank statements                                               Crisostomo     0.1      $   380.00                            $    38.00
29‐Nov‐21   AAR    Emailed Kabbage counsel for extension and info re Kabbage AP                                            Crisostomo     0.1      $   380.00                            $    38.00
29‐Nov‐21   AAR    Discussed payroll research done on debtor's principals                                                  Crisostomo     0.3      $   380.00                            $   114.00
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                                                                                   TASK: AAR‐ Asset Analysis & Recovery                                                                       Page 2 of 8
                                                                                                                                       Attorney   Attorney     Paralegal    Paralegal
Date        Code   Description                                                                                            Person        Hours       Rate        Hours         Rate            Total
29‐Nov‐21   AAR    Draft and docketed NOE for order approving stipulation regarding bank account DE 138                   Beasley                                 0.1      $ 180.00     $    18.00
1‐Dec‐21    AAR    Phone call and email from debtor's creditor re NOH of motion to approve settlement                     Crisostomo     0.1      $   380.00                            $    38.00
9‐Dec‐21    AAR    Drafted and docketed notice of appearance in Tecumseh AP case                                          Crisostomo     0.2      $   380.00                            $    76.00
10‐Dec‐21   AAR    Reviewed payroll of debtor possible 547 actions against debtor's principals                            Crisostomo     0.5      $   380.00                            $   190.00
13‐Dec‐21   AAR    Attended rule 26f conference in Infinity AP                                                            Crisostomo     0.4      $   380.00                            $   152.00
15‐Dec‐21   AAR    Emailed creditors' counsel re discovery plan in Tecumseh AP                                            Crisostomo     0.1      $   380.00                            $    38.00
15‐Dec‐21   AAR    Emailed defendant's counsel re settlement in Kabbage AP                                                Crisostomo     0.1      $   380.00                            $    38.00
15‐Dec‐21   AAR    Phone call with defendant's counsel re Kabbage AP                                                      Crisostomo     0.1      $   380.00                            $    38.00
17‐Dec‐21   AAR    Drafted ex parte motion to change defendant re Kabbage AP                                              Crisostomo     0.5      $   380.00                            $   190.00
20‐Dec‐21   AAR    Drafted and docketed NOE for order approving motion to approve settlement DE 160                       Beasley                                 0.1      $   180.00   $    18.00
21‐Dec‐21   AAR    Docketed ex parte motion to change defendant's name re Kabbage AP                                      Crisostomo     0.1      $   380.00                            $    38.00
21‐Dec‐21   AAR    Finalized and docketed decl re ex parte motion to change defendant's name re Kabbage AP                Crisostomo     0.2      $   380.00                            $    76.00
21‐Dec‐21   AAR    Docketed order granting ex parte motion to change defendant's name re Kabbage AP                       Crisostomo     0.1      $   380.00                            $    38.00
22‐Dec‐21   AAR    Drafted and docketed first amended complaint of Kabbage AP with new defendant                          Crisostomo     0.2      $   380.00                            $    76.00
22‐Dec‐21   AAR    Served summons service package on new defendant re Kabbage AP                                          Beasley                                 0.3      $   180.00   $    54.00
22‐Dec‐21   AAR    Served and docketed 2nd service summons executed re Kabbage AP                                         Beasley                                 0.1      $   180.00   $    18.00
3‐Jan‐22    AAR    Phone call with creditor counsel re motion to sell and selling of claims                               Crisostomo     0.2      $   420.00                            $    84.00
4‐Jan‐22    AAR    Reviewed the Tecumseh amended complaint and defendant's answer to strategize answer                    Crisostomo     0.4      $   420.00                            $   168.00
4‐Jan‐22    AAR    Phone call with attorney for medical lien provider re receivable to Infinity                           Crisostomo     0.2      $   420.00                            $    84.00
4‐Jan‐22    AAR    Started drafting answer to counterclaim re Tecumseh AP                                                 Crisostomo     0.7      $   420.00                            $   294.00
4‐Jan‐22    AAR    Discussed possible counterclaim against Tecumseh in Tecumseh AP                                        Crisostomo     0.3      $   420.00                            $   126.00
5‐Jan‐22    AAR    Discussed with trustee the Tecumseh AP and phone call with creditor counsel                            Crisostomo     0.8      $   420.00                            $   336.00
6‐Jan‐22    AAR    Discussed with trustee Tecumseh AP answer and possible counterclaim re Tecumseh AP                     Crisostomo     0.8      $   420.00                            $   336.00
6‐Jan‐22    AAR    Reviewed cases in preparation for counterclaim re Tecumseh AP                                          Crisostomo     0.5      $   420.00                            $   210.00
6‐Jan‐22    AAR    Emailed defendant counsel instructions for payment re Kabbage AP                                       Crisostomo     0.2      $   420.00                            $    84.00
6‐Jan‐22    AAR    Discussed with trustee court cases in preparation for counterclaim re Tecumseh AP                      Crisostomo     0.3      $   420.00                            $   126.00
6‐Jan‐22    AAR    Started drafting counterclaim re Tecumseh AP                                                           Crisostomo     0.9      $   420.00                            $   378.00
6‐Jan‐22    AAR    Worked on draft answer and counterclaim (Tecumseh AP)                                                  Crisostomo     1.3      $   420.00                            $   546.00
7‐Jan‐22    AAR    Drafted and sent subpoena to Infinity Health Solutions LLC                                             Crisostomo     0.3      $   420.00                            $   126.00
7‐Jan‐22    AAR    Drafted and docketed notice of intent to subpoena Infinity Health Solutions LLC                        Crisostomo     0.2      $   420.00                            $    84.00
7‐Jan‐22    AAR    Drafted and emailed settlement and release agreement re Kabbage AP                                     Crisostomo     0.4      $   420.00                            $   168.00
7‐Jan‐22    AAR    Reviewed and docketed answer and counterclaim re Kabbage AP                                            Crisostomo     0.5      $   420.00                            $   210.00
7‐Jan‐22    AAR    Worked on AP complaint/counterclaim                                                                    Crisostomo     1.2      $   420.00                            $   504.00
7‐Jan‐22    AAR    More drafting of counterclaim                                                                          Crisostomo     0.8      $   420.00                            $   336.00
10‐Jan‐22   AAR    Reviewed bk docs and drafted counter plaintiff's initial disclosures re Tecumseh AP                    Crisostomo     0.9      $   420.00                            $   378.00
10‐Jan‐22   AAR    Compiled and mailed trustee's initial disclosures re Tecumseh AP                                       Beasley                                 0.5      $   180.00   $    90.00
11‐Jan‐22   AAR    Amended and docketed counterclaim to fix caption                                                       Crisostomo     0.3      $   420.00                            $   126.00
11‐Jan‐22   AAR    Emailed all parties' counsel re new caption re Tecumseh AP                                             Crisostomo     0.1      $   420.00                            $    42.00
12‐Jan‐22   AAR    Drafted acceptance of service of process for tecumseh re Tecumseh AP                                   Crisostomo     0.2      $   420.00                            $    84.00
12‐Jan‐22   AAR    Emailed acceptance of service, counterclaim, and summons to Tecumseh re Tecumseh AP                    Crisostomo     0.1      $   420.00                            $    42.00
12‐Jan‐22   AAR    Reviewed revised settlement agreement re Kabbage AP                                                    Crisostomo     0.2      $   420.00                            $    84.00
12‐Jan‐22   AAR    Drafted electronic deposit authorization form re Kabbage AP                                            Crisostomo     0.2      $   420.00                            $    84.00
12‐Jan‐22   AAR    Emailed settlement agreement and electronic deposit form to defendant re Kabbage AP                    Crisostomo     0.1      $   420.00                            $    42.00
13‐Jan‐22   AAR    Docketed acceptance of service of process re Tecumseh AP                                               Crisostomo     0.1      $   420.00                            $    42.00
21‐Jan‐22   AAR    Discussed with trustee creditor HASelect and the Tecumseh AP                                           Crisostomo     0.3      $   420.00                            $   126.00
24‐Jan‐22   AAR    Phone call with creditor re proof of claim                                                             Crisostomo     0.1      $   420.00                            $    42.00
25‐Jan‐22   AAR    Emailed defendant about settlement payment re Kabbage AP                                               Crisostomo     0.1      $   420.00                            $    42.00
26‐Jan‐22   AAR    Phone call with creditor re issues with Infinity                                                       Crisostomo     0.1      $   420.00                            $    42.00
4‐Feb‐22    AAR    Drafted and docketed notice of dismissal of Kabbage AP                                                 Crisostomo     0.1      $   420.00                            $    42.00
7‐Feb‐22    AAR    Discussed meet and confer re subpoena to Infinity Health Solutions                                     Crisostomo     0.2      $   420.00                            $    84.00
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                                                                                                                                          Attorney    Attorney    Paralegal   Paralegal
Date        Code   Description                                                                                               Person        Hours        Rate       Hours        Rate           Total
7‐Feb‐22    AAR    Phone call with debtor's creditor re lien reduction to provide info re debtor servicer                    Crisostomo      0.1     $ 420.00                            $    42.00
9‐Feb‐22    AAR    Phone call with Infinity Health Solutions counsel re subpoena request                                     Crisostomo      0.2     $ 420.00                            $    84.00
9‐Feb‐22    AAR    Phone call with creditor HASelect counsel re subpoena request                                             Crisostomo      0.1     $ 420.00                            $    42.00
10‐Feb‐22   AAR    Drafted ex parte motion to pay admin expense to Infinity Health Solutions LLC                             Crisostomo      0.4     $ 420.00                            $   168.00
15‐Feb‐22   AAR    Docketed ex parte motion to pay admin expense and order                                                   Crisostomo      0.2     $ 420.00                            $    84.00
16‐Feb‐22   AAR    Drafted and docketed NOE for order on ex parte motion DE 187                                              Beasley                                 0.1      $   180.00 $    18.00
18‐Feb‐22   AAR    Emailed Infinity Health Connection's counsel re subpoena production                                       Crisostomo     0.1      $   420.00                          $    42.00
22‐Feb‐22   AAR    Discussed drafting of notice of consummation of sale and motion to substitute parties in AP               Crisostomo     0.2      $   420.00                          $    84.00
22‐Feb‐22   AAR    Drafted and docketed notice of consummation of sale re Tecumseh AP                                        Crisostomo     0.2      $   420.00                          $    84.00
22‐Feb‐22   AAR    Drafted and docketed notice of consummation of sale in main case re Tecumseh AP                           Crisostomo     0.2      $   420.00                          $    84.00
22‐Feb‐22   AAR    Drafted ex parte motion to substitute parties in Tecumseh AP                                              Crisostomo     0.6      $   420.00                          $   252.00
22‐Feb‐22   AAR    Drafted order of amended complaint re motion to substitute parties in Tecumseh AP                         Crisostomo     0.2      $   420.00                          $    84.00
22‐Feb‐22   AAR    Discussion with trustee and creditor HASelect re stipulation to substitute party re Tecumseh AP           Crisostomo     0.2      $   420.00                          $    84.00
22‐Feb‐22   AAR    Drafted stipulation to substitute party re Tecumseh AP                                                    Crisostomo     0.5      $   420.00                          $   210.00
22‐Feb‐22   AAR    Emailed defendant's counsel re discovery plan re Tecumseh AP                                              Crisostomo     0.1      $   420.00                          $    42.00
25‐Feb‐22   AAR    Drafted motion to substitute party and recaption case re Tecumseh AP                                      Crisostomo     0.6      $   420.00                          $   252.00
28‐Feb‐22   AAR    Revised motion to substitute party and NOH re Tecumseh AP                                                 Crisostomo     0.7      $   420.00                          $   294.00
28‐Feb‐22   AAR    Docketed motion to substitute party, NOH, and COS re Tecumseh AP                                          Crisostomo     0.2      $   420.00                          $    84.00
28‐Feb‐22   AAR    Recaptioned order, NOE, and COS re motion to substitute party re Tecumseh AP                              Beasley                                 0.1      $   180.00 $    18.00
2‐Mar‐22    AAR    Phone call with creditor re POC filed in bk                                                               Crisostomo     0.2      $   420.00                          $    84.00
3‐Mar‐22    AAR    Received and reviewed subpoena response from Infinity Health Solutions                                    Crisostomo     0.6      $   420.00                          $   252.00
22‐Mar‐22   AAR    Attended scheduling conference of Tecumseh AP                                                             Crisostomo     0.2      $   420.00                          $    84.00
23‐Mar‐22   AAR    Discussed opposition to motion to substitute re Tecumseh AP                                               Crisostomo     0.3      $   420.00                          $   126.00
23‐Mar‐22   AAR    Researched case law re reply to opposition to motion to substitute re Tecumseh AP                         Crisostomo     0.9      $   420.00                          $   378.00
23‐Mar‐22   AAR    Started drafting reply to opposition to motion to substitute re Tecumseh AP                               Crisostomo     0.9      $   420.00                          $   378.00
23‐Mar‐22   AAR    Continued to draft reply to opposition to motion to substitute re Tecumseh AP                             Crisostomo     0.7      $   420.00                          $   294.00
23‐Mar‐22   AAR    Reviewed motion to dismiss and partial motion for summary judgment re Tecumseh AP                         Crisostomo     0.3      $   420.00                          $   126.00
24‐Mar‐22   AAR    Discussed motion to dismiss, motion for summary judgment, and reply re Tecumseh AP                        Crisostomo     0.5      $   420.00                          $   210.00
24‐Mar‐22   AAR    Continued case law research and drafting of reply to limited opp to substitute re Tecumseh AP             Crisostomo     0.9      $   420.00                          $   378.00
24‐Mar‐22   AAR    Continued drafting of reply to limited opp to substitute re Tecumseh AP                                   Crisostomo     0.9      $   420.00                          $   378.00
29‐Mar‐22   AAR    Discussed first draft of reply to opp to motion to substitute re Tecumseh AP                              Crisostomo     0.2      $   420.00                          $    84.00
29‐Mar‐22   AAR    Reviewed case law research from HASelect counsel re motion to dismiss re Tecumseh AP                      Crisostomo     0.6      $   420.00                          $   252.00
29‐Mar‐22   AAR    Researched case law regarding reply to opp to motion to substitute re Tecumseh AP                         Crisostomo     0.9      $   420.00                          $   378.00
29‐Mar‐22   AAR    Continued to research case law regarding reply to opp to motion to substitute re Tecumseh AP              Crisostomo     0.4      $   420.00                          $   168.00
29‐Mar‐22   AAR    Revised first section of reply to opp to motion to substitute re Tecumseh AP                              Crisostomo     0.7      $   420.00                          $   294.00
29‐Apr‐22   AAR    Discussed opposition in Infinity AP and phone call with HASelect counsel                                  Crisostomo     0.5      $   420.00                          $   210.00
13‐May‐22   AAR    Continued reviewing subpoena response from Chase Bank                                                     Crisostomo     0.3      $   420.00                          $   126.00
13‐May‐22   AAR    Discussed with Trustee developments in Tecumseh AP                                                        Crisostomo     0.1      $   420.00                          $    42.00
16‐May‐22   AAR    Discussed potential settlement and sale of assets to HASelect                                             Crisostomo     0.1      $   420.00                          $    42.00
17‐May‐22   AAR    Started drafting settlement and sale agreement with HASelect                                              Crisostomo     0.6      $   420.00                          $   252.00
18‐May‐22   AAR    Continued drafting settlement and sale agreement to HASelect                                              Crisostomo     0.4      $   420.00                          $   168.00
18‐May‐22   AAR    Phone call with HASelect counsel re settlement and sale agreement                                         Crisostomo     0.2      $   420.00                          $    84.00
23‐May‐22   AAR    Drafted and docket NOE for order granting motion to substitute DE 81                                      Beasley                                 0.1      $   180.00 $    18.00
7‐Jun‐22    AAR    Reviewed HASelect letter and potential complaint against debtor                                           Crisostomo     0.3      $   420.00                          $   126.00
7‐Jun‐22    AAR    Phone call with HASelect re letter and potential complaint against debtor                                 Crisostomo     0.2      $   420.00                          $    84.00
9‐Jun‐22    AAR    Finished drafting settlement & sale agreement with HASelect                                               Crisostomo     0.6      $   420.00                          $   252.00
29‐Jun‐22   AAR    Emailed injury specialist client re contacting debtor's server                                            Crisostomo     0.1      $   420.00                          $    42.00
11‐Jul‐22   AAR    Reviewed all POCs for possible objections to POC                                                          Crisostomo     0.8      $   420.00                          $   336.00
11‐Jul‐22   AAR    Discussion with trustee re 2 POC objections                                                               Crisostomo     0.3      $   420.00                          $   126.00
11‐Jul‐22   AAR    Drafted and docketed objection to POC 5 and NOH                                                           Crisostomo     0.6      $   420.00                          $   252.00
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                                                                                      TASK: AAR‐ Asset Analysis & Recovery                                                                                 Page 4 of 8
                                                                                                                                                  Attorney    Attorney    Paralegal   Paralegal
Date        Code   Description                                                                                                       Person        Hours        Rate       Hours        Rate              Total
11‐Jul‐22   AAR    Drafted and docketed objection to POC 6 and NOH                                                                   Crisostomo      0.5     $ 420.00                              $    210.00
11‐Jul‐22   AAR    Served objection to POC 5 and NOH to creditor                                                                     Beasley                                 0.2      $   180.00   $     36.00
11‐Jul‐22   AAR    Served objection to POC 6 and NOH to creditor                                                                     Beasley                                 0.2      $   180.00   $     36.00
11‐Jul‐22   AAR    Drafted and docketed COS for NOH DE 228 ‐ 231                                                                     Beasley                                 0.1      $   180.00   $     18.00
11‐Aug‐22   AAR    Edits to draft settlement sale agreement                                                                          Crisostomo     0.6      $   420.00                            $    252.00
11‐Aug‐22   AAR    Drafted and docketed order approving objection to POC 6                                                           Beasley                                 0.1      $   180.00   $     18.00
16‐Aug‐22   AAR    Drafted and docketed NOE for order sustaining trustee's objection to claim no. 6 DE 238                           Beasley                                 0.1      $   180.00   $     18.00
16‐Aug‐22   AAR    Served via US mail NOE DE 239 then drrafted and docketed COS                                                      Beasley                                 0.1      $   180.00   $     18.00
29‐Aug‐22   AAR    Drafted and docketed NEO [DE 249] and COS [DE 250] + served NEO to creditor                                       Beasley                                 0.2      $   180.00   $     36.00
30‐Aug‐22   AAR    Drafted and docketed NEO for order on ex parte app for comp for accountant 251                                    Beasley                                 0.1      $   180.00   $     18.00

                                                                                           Total ‐ AAR (ASSET ANALYSIS & RECOVERY)                 49.4                     3.5                    $ 20,734.00
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                                                                                                                                        Attorney    Attorney    Paralegal   Paralegal
Date        Code   Description                                                                                             Person        Hours        Rate       Hours        Rate             Total
12‐Oct‐21   AD     Reviewed opposition and motion to approve abandonment of collateral                                     Crisostomo      0.2     $ 380.00                              $    76.00
12‐Oct‐21   AD     Attended motion to approve abandonment                                                                  Crisostomo      0.4     $ 380.00                              $   152.00
13‐Oct‐21   AD     Reviewed orders granting motion for relief from stay and granting joint motion for abandonment          Crisostomo      0.1     $ 380.00                              $    38.00
1‐Nov‐21    AD     Discussed with trustee drafting of motion to sell non‐abandoned receivables                             Crisostomo      0.3     $ 380.00                              $   114.00
1‐Nov‐21    AD     Drafted motion to sell non‐abandoned receivables                                                        Crisostomo      0.7     $ 380.00                              $   266.00
1‐Nov‐21    AD     Recaptioned documents re motion to sell non‐abandoned receivables                                       Beasley                                 0.1      $   180.00   $    18.00
3‐Nov‐21    AD     Strategized with trustee opposition to Tecumseh's motion to abandon property                            Crisostomo     0.2      $   380.00                            $    76.00
3‐Nov‐21    AD     Drafted and docketed opposition to Tecumseh's motion to abandon property                                Crisostomo     0.6      $   380.00                            $   228.00
4‐Nov‐21    AD     Revised motion to sell non‐abandoned receivables after receiving new info                               Crisostomo     0.3      $   380.00                            $   114.00
5‐Nov‐21    AD     Drafted notice of surrender of facility                                                                 Crisostomo     0.3      $   380.00                            $   114.00
5‐Nov‐21    AD     Drafted OST motion, decl, and attorney info sheet re motion to sell disputed receivables                Crisostomo     0.4      $   380.00                            $   152.00
16‐Nov‐21   AD     Added procedures section to motion to sell receivables                                                  Crisostomo     0.3      $   380.00                            $   114.00
17‐Nov‐21   AD     Drafted APA re sale of receivables to creditor HASelect                                                 Crisostomo     0.5      $   380.00                            $   190.00
17‐Nov‐21   AD     Revised motion to sell receivables with addition of APA to creditor HASelect                            Crisostomo     0.6      $   380.00                            $   228.00
17‐Nov‐21   AD     Emailed creditors draft proposed order denying motion to abandon and lift stay                          Crisostomo     0.1      $   380.00                            $    38.00
17‐Nov‐21   AD     Emailed creditors re: motion to sell on shortened time                                                  Crisostomo     0.2      $   380.00                            $    76.00
17‐Nov‐21   AD     Worked on draft of APA                                                                                  Crisostomo     0.8      $   380.00                            $   304.00
17‐Nov‐21   AD     More drafting of APA                                                                                    Crisostomo     0.5      $   380.00                            $   190.00
18‐Nov‐21   AD     Finalized and uploaded order denying Tecumseh's motion to abandon receivables                           Crisostomo     0.1      $   380.00                            $    38.00
19‐Nov‐21   AD     Revised OST motion and declaration re motion to sell                                                    Crisostomo     0.5      $   380.00                            $   190.00
22‐Nov‐21   AD     Phone call with trustee and creditor HASelect re motion to sell                                         Crisostomo     0.2      $   380.00                            $    76.00
22‐Nov‐21   AD     Emailed revised asset purchase agreement to creditor HASelect                                           Crisostomo     0.1      $   380.00                            $    38.00
23‐Nov‐21   AD     Revised motion to sell to match revised APA with HASelect                                               Crisostomo     0.5      $   380.00                            $   190.00
23‐Nov‐21   AD     Revised proposed order granting motion to sell                                                          Crisostomo     0.2      $   380.00                            $    76.00
23‐Nov‐21   AD     Revised motion for OST re motion to sell                                                                Crisostomo     0.3      $   380.00                            $   114.00
24‐Nov‐21   AD     Phone call with trustee and HASelect re motion to sell and other 547 causes of action                   Crisostomo     0.3      $   380.00                            $   114.00
24‐Nov‐21   AD     Continued working on next draft of motion to sell                                                       Crisostomo     0.7      $   380.00                            $   266.00
29‐Nov‐21   AD     Drafted decl re motion to sell receivables                                                              Crisostomo     0.2      $   380.00                            $    76.00
1‐Dec‐21    AD     Phone call with trustee and creditor HASelect re revisions to motion to sell                            Crisostomo     0.2      $   380.00                            $    76.00
3‐Dec‐21    AD     Finalized, compiled, and docketed motion to sell assets                                                 Crisostomo     0.4      $   380.00                            $   152.00
3‐Dec‐21    AD     Finalized and docketed decl re motion to sell assets                                                    Crisostomo     0.2      $   380.00                            $    76.00
3‐Dec‐21    AD     Revised OST motion and decl re motion to sell assets                                                    Crisostomo     0.3      $   380.00                            $   114.00
3‐Dec‐21    AD     Finalized and docketed ost motion re motion to sell assets                                              Crisostomo     0.3      $   380.00                            $   114.00
3‐Dec‐21    AD     Finalized and docketed decl re ost motion re motion to sell assets                                      Crisostomo     0.1      $   380.00                            $    38.00
3‐Dec‐21    AD     Docketed attorney info sheet re ost motion re motion to sell assets                                     Crisostomo     0.1      $   380.00                            $    38.00
3‐Dec‐21    AD     Uploaded order on ost motion re motion to sell assets                                                   Crisostomo     0.1      $   380.00                            $    38.00
7‐Dec‐21    AD     Drafted, compiled, and uploaded Notice of Hearing and Notice of Entry of OST (re Motion to Sell)        Beasley                                 0.2      $   180.00   $    36.00
8‐Dec‐21    AD     Served motion to sell and NOH to CMM via COS.com                                                        Beasley                                 0.2      $   180.00   $    36.00
14‐Dec‐21   AD     Analyzed opposition to motion to sell and started case law research                                     Crisostomo     0.9      $   380.00                            $   342.00
14‐Dec‐21   AD     Continued case law research in preparation for reply to opp to motion to sell                           Crisostomo     0.9      $   380.00                            $   342.00
14‐Dec‐21   AD     Discussed case law findings re reply to opposition to motion to sell                                    Crisostomo     0.2      $   380.00                            $    76.00
15‐Dec‐21   AD     Finished researching case law re reply to opp to motion to sell                                         Crisostomo     0.7      $   380.00                            $   266.00
15‐Dec‐21   AD     Discussed other case law research re reply to opp to motion to sell                                     Crisostomo     0.2      $   380.00                            $    76.00
15‐Dec‐21   AD     Prepared and draft section of reply to opp to motion to sell                                            Crisostomo     0.9      $   380.00                            $   342.00
15‐Dec‐21   AD     Continued to draft section of reply to opp to motion to sell                                            Crisostomo     0.9      $   380.00                            $   342.00
15‐Dec‐21   AD     More drafting and edits to reply to opp to motion to sell                                               Crisostomo     0.7      $   380.00                            $   266.00
16‐Dec‐21   AD     Finished drafting and editing section of reply to opp to motion to sell                                 Crisostomo     0.9      $   380.00                            $   342.00
20‐Dec‐21   AD     Researched additional case law re reply to opp to motion to sell                                        Crisostomo     0.6      $   380.00                            $   228.00
20‐Dec‐21   AD     Finished and docketed reply and decl to opp to motion to sell                                           Crisostomo     0.2      $   380.00                            $    76.00
21‐Jan‐22   AD     Drafted and docketed NEO for order on motion to sell                                                    Beasley                                 0.1      $   180.00   $    18.00
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                                                                                            TASK: AD ‐ Asset Disposition                                                                                     Page 6 of 8
                                                                                                                                                     Attorney    Attorney    Paralegal   Paralegal
Date        Code   Description                                                                                                          Person        Hours        Rate       Hours        Rate              Total
8‐Feb‐22    AD     Reviewed order and opposition to motion to sell re account receivables                                               Crisostomo      0.2     $ 420.00                            $       84.00
8‐Feb‐22    AD     Discussed auction hearing of motion to sell re account receivables and phone call with HASelect                      Crisostomo      0.3     $ 420.00                            $      126.00
8‐Feb‐22    AD     Drafted stip and order re auction purchase price                                                                     Crisostomo      0.3     $ 420.00                            $      126.00
11‐Feb‐22   AD     Drafted and docketed Notice of Entry of Order (re: order approving sale)                                             Beasley                                 0.1      $   180.00 $       18.00
7‐Jun‐22    AD     Discussion re selling other claims to HASelect and PSA                                                               Crisostomo     0.2      $   420.00                          $       84.00

                                                                                                       Total ‐ AD (ASSET DISPOSITION)                 19.4                     0.7                   $   7,538.00
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                                                                                    TASK: CAO ‐ Claims Admin & Objections                                                                          Page 7 of 8
                                                                                                                                             Attorney    Attorney   Paralegal   Paralegal
Date        Code   Description                                                                                                  Person        Hours        Rate      Hours        Rate            Total
21‐Oct‐21   CAO    Emailed Australian creditors of debtor how to file POCs                                                      Crisostomo      0.2     $ 380.00                            $    76.00
22‐Oct‐21   CAO    Discussed new POCs and settlement re vehicle                                                                 Crisostomo      0.2     $ 380.00                            $    76.00
27‐Oct‐21   CAO    Emailed creditor regarding next steps after filing POC                                                       Crisostomo      0.1     $ 380.00                            $    38.00
28‐Oct‐21   CAO    Discussed about emailing creditors answering questions re POCs                                               Crisostomo      0.3     $ 380.00                            $   114.00
3‐Jan‐22    CAO    Phone call with creditor re filing a proof of claim                                                          Crisostomo      0.2     $ 420.00                            $    84.00

                                                                             Total ‐ CAO (CLAIMS ADMINISTRATION & OBJECTIONS)                  1.0                    0.0                   $   388.00
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                                                                                     TASK: FEA ‐ Fee‐Emp Applications                                                                           Page 8 of 8
                                                                                                                                          Attorney   Attorney   Paralegal    Paralegal
Date        Code   Description                                                                                                  Person     Hours       Rate      Hours         Rate            Total
17‐Oct‐22   FEA    Worked on Exhibit 5 for Fee Application                                                                      Beasley                            0.2      $ 180.00     $    36.00
18‐Oct‐22   FEA    Sorted and reviewed time entries for fee app                                                                 Beasley                            0.6      $ 180.00     $   108.00
20‐Oct‐22   FEA    Drafting of fee application and exhibits                                                                     Beasley                            0.8      $ 180.00     $   144.00
22‐Oct‐22   FEA    Revised and finalized all exhibits for fee app                                                               Beasley                            0.4      $ 180.00     $    72.00
TBD         FEA    Compiled and uploaded fee application; draft and upload NOH                                                  Beasley                            0.3      $ 180.00     $    54.00

                                                                                  Total ‐ FEA (FEE & EMPLOYMENT APPLICATIONS)               0.0                   2.3                    $   414.00
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                         EXHIBIT 5
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                                                        EXPENSE DETAIL

PRINTING

                                $       0.25 Print cost per page
                                                                                                                      # of Sets    Pages
     Date Incurred    Type             Total    Description                                                            Printed    per Set
     11/3/21          Print     $      5.00     Printing for mailing of summons service package (Kabbage AP)                  2        10
     12/22/21         Print     $      2.50     Printing for 2nd mailing of summons service package (Kabbage AP               1        10
     1/10/22          Print     $      3.75     Printing for mailing of trustee's initial disclosures (Tecumseh AP)           3         5
     7/11/22          Print     $      2.75     Printing for objection to POC 5 and NOH to creditor                           1        11
     7/11/22          Print     $      7.00     Printing for objection to POC 6 and NOH to creditor                           1        28
     8/16/22          Print     $      0.50     Printing for NOE DE 239 to creditor                                           1         2

     SUBTOTAL PRINTING          $     21.50

POSTAGE

     Date Incurred    Type             Total    Description
     11/3/21          US Mail   $      3.12     Postage for mailing of summons service package (Kabbage AP)
     12/22/21         US Mail   $      1.56     Postage for 2nd mailing of summons service package (Kabbage AP)
     1/10/22          US Mail   $      2.19     Postage for mailing of trustee's initial disclosures (Tecumseh AP)
     7/11/22          US Mail   $      0.81     Postage for mailing of objection to POC 5 and NOH to creditor
     7/11/22          US Mail   $      1.05     Postage for mailing of objection to POC 5 and NOH to creditor
     8/16/22          US Mail   $      0.57     Postage for mailing of NOE 239 to creditor
     8/29/22          US Mail   $      0.57     Postage for mailing of NOE 249 to creditor

     SUBTOTAL POSTAGE           $       9.87

THIRD‐PARTY EXPENSES

     Date Incurred    Type              Total   Description
     9/29/21          3P        $      35.33    Print/mail of NOH [DE 40] for app to employ (sent via www.COS.com)
     11/18/21         3P        $     199.37    Print/mail of NOH [DE 130] for motion to approve settlement (sent via www.COS.com)
     12/8/21          3P        $   1,133.85    Print/mail of NOH [DE 151] for motion to sell (sent via www.COS.com)
     2/17/22          3P        $      54.00    Process server fee for subpoena to Infinity Health Solutions
     TBD              3P        $     209.67    Print/mail of NOH for fee app (sent via www.COS.com)

     SUBTOTAL THIRD‐PARTY       $   1,632.22

TOTAL EXPENSES (by category)

     Printing                   $      21.50
     Postage                    $       9.87
     Third‐Party                $   1,632.22

     TOTAL EXPENSES             $   1,663.59
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